             Case MDL No. 3019 Document 98 Filed 12/03/21 Page 1 of 3




                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: T-MOBILE CUSTOMER DATA
SECURITY BREACH LITIGATION                                                            MDL No. 3019


                                      TRANSFER ORDER


        Before the Panel:* Plaintiffs in the Western District of Washington Daruwalla action
move under 28 U.S.C. § 1407 to centralize this litigation in the Western District of Washington
or, alternatively, in the Western District of Missouri. This litigation consists of five actions
pending in four districts, as listed on Schedule A. The parties have informed the Panel of 39 related
actions pending in nine districts. 1

        Plaintiffs in twenty-two actions responded to the motion. All but one 2 either support or do
not oppose centralization, but they differ as to the proposed transferee district. The suggested
transferee districts include: the Northern District of California, the Northern District of Georgia,
the Western District of Missouri, the District of New Jersey, the Eastern District of New York, the
Western District of Oklahoma, and the Western District of Washington. Defendants T-Mobile
USA, Inc., and T-Mobile US, Inc., also support centralization. Defendants suggest centralization
in the Western District of Missouri.

       On the basis of the papers filed and the hearing session held, 3 we find that the actions listed


* One or more Panel members who could be members of the putative classes in this litigation have
renounced their participation in these classes and have participated in this decision.
1
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.
2
  Plaintiff in the Northern District of California Achermann potential tag-along action argues that
Achermann should not be transferred to any MDL until the transferor court rules on his pending
remand motion. This argument is premature. See In re DePuy Orthopaedics, Inc., Pinnacle Hip
Implant Prods. Liab. Litig., 787 F. Supp. 2d 1358, 1360 (J.P.M.L. 2011). Should the Panel issue
an order conditionally transferring Achermann to the MDL, plaintiff at that time may move to
vacate the conditional transfer order. See Panel Rule 7.1.
3
 In light of the concerns about the spread of the COVID-19 virus (coronavirus), the Panel heard
oral argument by videoconference at its hearing session of December 2, 2021. See Suppl. Notice
of Hearing Session, MDL No. 3019 (J.P.M.L. Nov. 15, 2021), ECF No. 92.
             Case MDL No. 3019 Document 98 Filed 12/03/21 Page 2 of 3


                                                 -2-

on Schedule A involve common questions of fact, and that centralization in the Western District
of Missouri will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These putative class actions present common factual questions
concerning an alleged data security breach of T-Mobile’s systems that was discovered in August
2021 and allegedly compromised the personal information of approximately 54 million current,
former, and prospective customers of T-Mobile. Common factual questions will include: T-
Mobile’s data security practices and whether those practices met industry standards; how the
malfeasants obtained access to T-Mobile’s system; the extent of the personal information affected
by the breach; when T-Mobile knew or should have known of the breach; and T-Mobile’s
investigation into the breach. Centralization will eliminate duplicative discovery; prevent
inconsistent pretrial rulings, including with respect to class certification; and conserve the
resources of the parties, their counsel, and the judiciary.

         The Western District of Missouri is an appropriate transferee district for this litigation. The
district is supported by defendants and, in the alternative, by several plaintiffs, including movants.
The Western District of Missouri presents a geographically central and accessible venue for this
nationwide litigation. The district also has the capacity to efficiently manage this litigation. We
assign this litigation to the Honorable Brian C. Wimes, who we are confident will steer this
litigation on a prudent and expeditious course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Western District of Missouri are transferred to the Western District of Missouri and, with the
consent of that court, assigned to the Honorable Brian C. Wimes for coordinated or consolidated
pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                             Karen K. Caldwell
                                                                 Chair

                                       Nathaniel M. Gorton                 Matthew F. Kennelly
                                       David C. Norton                     Roger T. Benitez
                                       Dale A. Kimball                     Madeline C. Arleo
        Case MDL No. 3019 Document 98 Filed 12/03/21 Page 3 of 3




IN RE: T-MOBILE CUSTOMER DATA
SECURITY BREACH LITIGATION                                     MDL No. 3019


                                  SCHEDULE A

                Northern District of California

    THANG v. T−MOBILE US, INC., C.A. No. 5:21−06473

                Northern District of Georgia

    VASH v. T−MOBILE US, INC., C.A. No. 1:21−03384

                Eastern District of New York

    METZGER v. T−MOBILE USA, INC., C.A. No. 2:21−04721

                Western District of Washington

    DARUWALLA, ET AL. v. T−MOBILE USA, INC., C.A. No. 2:21−01118
    ESPANOZA, ET AL. v. T−MOBILE USA, INC., C.A. No. 2:21−01119
